                                                          ORDERED ACCORDINGLY.


                                                           Dated: March 11, 2014




 1                                                        George B. Nielsen, Bankruptcy Judge
                                                          _________________________________
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 3
                            UNITED STATES BANKRUPTCY COURT
 4
 5                                   DISTRICT OF ARIZONA

 6   In re:                                              Chapter 7 Proceedings
 7   Beverley Buckley,
                                                       Case No. 2:12-19495-GBN
 8                    Debtor.
 9   QUINTON A. BUCKLEY, Personal
     Representative of Probate Estate of Beverly   ADVERSARY NO. 2:13-AP-00950
10   Buckley,
                           Plaintiff,
11                                                  ORDER GRANTING CROSS
                                                    MOTION FOR SUMMARY
12   vs.
                                                         JUDGMENT
13   ROY ZEAGLER,
                           Defendant.
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16         The Plaintiff (“Buckley”) having filed a Motion for Summary Judgment to Determine
17   Recorded Judgment not a Lien on Homestead Property (the “MSJ”- DE #16), and the
18   Defendant (Zeagler”) having filed an Opposition to Motion for Summary Judgment and
19   Cross Motion for Summary Judgment (the “Opposition and/or Cross MSJ”-DE#22) and
20   Buckley having filed a Reply in Support of the MSJ (DE #23) and Zeagler having filed a
21   Reply in Support of Cross-Motion for Summary Judgment (DE #24) and Buckley having
22   filed a Sur-Reply to Arguments Raised in Reply (DE #25); and the Court having held a
23   hearing on March 4, 2014, at which time counsel presented oral arguments; and good cause
24   appearing;
25         IT IS HEREBY ORDERED that Zeagler’s Cross MSJ is granted. Zeagler’s judicial
26   lien attached to the Debtor’s Buckeye Arizona real property that is also subject to her


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 1   homestead exemption.      By stipulation of the parties, the lien remains attached to the
 2   property’s sale proceeds, although the Court has made no determination as to the relative
 3   priority of the lien or the homestead exemption.
 4          IT IS HEREBY ORDERED that Plaintiff’s MSJ is denied.
 5          IT IS FURTHER ORDERED that this order is not a final order or judgment in this
 6   matter.
 7                DATED AND SIGNED ABOVE.

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